       Case 3:17-cv-00939-WHA Document 748-12 Filed 06/27/17 Page 1 of 8

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VIA ECF

Magistrate Judge Jacqueline Scott Corley
USDC, Northern District of California
San Francisco Courthouse Courtroom F-15th Floor
450 Golden Gate Avenue, San Francisco, CA 94102

Re:    Waymo LLC v. Uber Technologies, Inc., et al, N.D. Cal. Case No. 3:17-cv-00939-WHA


Dear Magistrate Judge Corley:

Defendants Uber Technologies Inc. and Ottomotto LLC (collectively, “Uber”) submit this letter
in opposition to Waymo LLC’s (“Waymo”) motion to compel the production of documents and
responses to expedited interrogatories filed on June 21, 2017 (“Waymo Br.”) (Dkt. 681-3).


Respectfully submitted,




/s/ Arturo J. Gonzalez
Arturo J. González




la-1353118
       Case 3:17-cv-00939-WHA Document 748-12 Filed 06/27/17 Page 2 of 8




Waymo’s motion pertains to certain of Uber’s responses to Waymo’s expedited discovery
requests. In its May 11, 2017 order, the Court granted Waymo expedited discovery “in aid of
possible further provisional relief.” (Dkt. 427-1 at 25.) Specifically, “[w]ith respect to its trade
secret misappropriation claims only,” the Court authorized Waymo to propound 28 “reasonably
narrow” document requests and 28 “reasonably narrow” interrogatories, “for which the response
time is reduced to 14 calendar days.” (Id. (emphasis in the original).) Despite the Court’s
admonition, Waymo served overbroad discovery requests. Uber responded appropriately,
including by agreeing to produce a more narrow set of documents or information than the request
sought where such a response was necessary to cure the overbreadth. Accordingly, and as
explained below, Uber submits that the Court should deny Waymo’s request for an order that
Uber (1) produce additional documents responsive to Waymo’s Expedited Request for
Production Nos. 5, 8, 10, 20 and 25 and (2) provide additional responses to Expedited
Interrogatory Nos. 3, 5, 8 and 20.

Expedited Document Requests

RFP No. 5 (“All diligence DOCUMENTS provided by OTTOMOTTO or OTTO TRUCKING to
UBER prior to August 5, 2016, INCLUDING any Data Room or Virtual Data Room.”)

In response to this Request, Uber agreed to “produce all non-privileged diligence documents
provided by Ottomotto and Otto Trucking prior to August 5, 2016 that were placed in the
transaction Data Room.” (Waymo Br. Ex. 9 at 4.) Uber produced those documents – 810
documents totaling 5,288 pages – on June 5, the same day it served its response. During the
course of meeting and conferring, Waymo asked what responsive diligence documents exist that
were not included in the Data Room. Contrary to the assertion in Waymo’s Letter Brief, in
response, Uber followed up with multiple personnel that were involved in the acquisition, and
those individuals confirmed they could not identify any categories of responsive documents that
were not included in the Data Room. (Ex. 1.) As Uber explained, to the extent additional
documents exist that conceivably could be categorized as “diligence documents” provided by
Ottomotto or Otto Trucking, they would be in the form of emails with follow up information or
one-off email attachments exchanged during the deal. Identifying those would require a
burdensome review of every email exchanged on the deal from January to August 2016, which is
far beyond the proper scope of a “reasonably narrow,” expedited document request. (Id.)

Nor has Waymo established the relevance of any such document. The Court authorized
expedited discovery “[w]ith respect to [Waymo’s] trade secret misappropriation claims only.”
(Dkt. 427-1 at 25 (emphasis in the original).) Other than the platitude that “diligence documents
provided by the Otto entities to Uber in connection with a potential acquisition are relevant to
central issues in this case, including ‘what Uber knew and when they knew it,’” (Waymo Br. at
3), Waymo makes no effort to articulate what types of diligence documents it believes are
missing from the more than 800 Data Room documents, the repository of diligence documents
for the deal, or how such documents are relevant to Waymo’s trade secret claims.

Finally, Waymo has sought the same documents in RFP No. 28 of Waymo’s non-expedited
document requests, to which Uber responded on June 23. (Ex. 2 (“All DOCUMENTS and
COMMUNICATIONS REGARDING UBER’s due diligence of OTTOMOTTO.”).) To the
extent an email-by-email review of all communications related to the acquisition is appropriate,

                                                 1
la-1353118
       Case 3:17-cv-00939-WHA Document 748-12 Filed 06/27/17 Page 3 of 8




it could only be appropriate in response to a non-expedited request. Further production in
response to Waymo’s expedited request is unwarranted under the Court’s order for limited
additional discovery and in light of Uber’s substantial production to date.

RFP No. 8 (“All documents regarding potential or actual “Pre-Signing Bad Acts” as defined in
the ACQUISITION DOCUMENTS, including by Levandowski.”)

Uber’s written response to this Request stated:

               Defendants object to this Request because it calls for materials
               protected by the attorney-client privilege, work product doctrine,
               and common interest privilege. In particular, this Request relates
               to the issue that is presently before the Court in Waymo’s motion
               to compel. As stated during a call among the parties and the
               Special Master on June 3, 2017, to the extent responsive
               documents exist, Defendants will produce or log them at a
               reasonable time following a judicial resolution of the disputed
               issue. Defendants further object that the Request is overbroad, not
               “reasonably narrow,” and not proportional to the needs of the case
               insofar as it seeks documents pertaining to anyone other than Mr.
               Levandowski, seeks “all” documents, and seeks documents about
               “potential” acts (though Waymo agreed to delete “potential” as a
               result of a meet-and-confer regarding these Requests).

(Waymo Br. Ex. 9 at 5.) In the course of meeting and conferring, Uber confirmed that it has “not
identified any non-privileged, responsive documents.” (Ex. 1.)

Waymo seeks production of all responsive documents, but as stated above, to the extent such
documents exist, they are protected from disclosure, at least until the Court’s recent orders on
privilege issues become final. The Court’s orders compelling the production of the report
prepared by Stroz Friedberg is currently stayed, as is the order regarding the remaining
documents on Uber’s privilege logs. As Uber previously informed Waymo, if any documents
responsive to this Request as it pertains to Mr. Levandowski exist and are not already on Uber’s
privilege logs, Uber will log those documents once the orders on those disputed privilege issues
are final to avoid hours of potentially wasted effort should the final orders require production.

Moreover, as explained in Uber’s written response, to the extent this Request seeks documents
pertaining to “Diligenced Employees” other than Mr. Levandowski, it is overbroad and not
“reasonably narrow,” as required for an expedited request, because Waymo’s trade secret claims
are based on allegations concerning Mr. Levandowski, Radu Raduta, and Sameer Kshirsagar, not
any of the other Diligenced Employees. Uber stands ready to produce or log responsive
documents, as appropriate, in conformance with the Court’s final orders on the pending disputed
privilege issues. The Court should deny Waymo’s request for relief as it pertains to this Request.

RFP No. 10 (All lab notebooks belonging to LiDAR personnel.)

Uber’s written response to this Request agreed to produce all lab notebooks belonging to all


                                                  2
la-1353118
Case 3:17-cv-00939-WHA Document 748-12 Filed 06/27/17 Page 4 of 8
       Case 3:17-cv-00939-WHA Document 748-12 Filed 06/27/17 Page 5 of 8




Employee.” But being part of the diligence process, by itself, does not establish relevance to
Waymo’s trade secret claims. As this Court explained, the Stroz investigation was
commissioned “to evaluate whether to acquire Otto” and “to create an evidentiary record should
an indemnification obligation arise.” (See 6/23/17 H’rg Tr. at 8-9.) It was not “to assist with
obtaining Waymo’s trade secrets.” (See Dkt. 731 at 2.) That Don Burnette was a “Diligenced
Employee” has no bearing on software modules unrelated to any of Waymo’s 121 alleged trade
secrets. Waymo’s trade secret claims are based on its allegations about Messrs. Levandowski,
Raduta, and Kshirsagar, not Mr. Burnette.

Finally, Waymo argues that it was entitled to see all assets that Uber is buying in its acquisition
of Otto. Waymo has already obtained extensive discovery relating to the Otto acquisition (see,
e.g., discussion regarding RFP No. 5, supra) and deposed Cameron Poetzscher and Nina Qi,
Uber personnel who worked on the Otto acquisition. Waymo also had the opportunity to inspect
(and has inspected) any schematics, work orders, source code, notes, and emails related to Uber’s
LiDAR development (including Spider and Fuji’s source code). What Waymo is not entitled to
do is expand its trade secret claims beyond its list of 121 trade secrets and seek unrelated
software. The Court should deny Waymo’s requested relief.

RFP No. 25 (“All DOCUMENTS REGARDING the satisfaction of conditions for closing in the
ACQUISITION DOCUMENTS.”)

In response to this Request, Uber stated “Defendants will produce a non-privileged version of the
final closing checklist to the extent one can be located after a diligent search.” (Waymo Br. Ex.
13 at 8.) Uber also objected that the Request calls for materials protected by the attorney-client
privilege, work product doctrine, and common interest privilege; is overbroad; and is not
“reasonably narrow” as required by the May 11, 2017 Order. (Id.)

In later correspondence, Uber explained that it did not locate a non-privileged version of the
closing checklist. (Waymo Br. Ex. 11.) The Special Master suggested that Uber create a non-
privileged list of the closing conditions to satisfy this Request. While reserving its right not to
create documents to respond to future document requests, Uber has set forth the closing
conditions in the document submitted herewith as Ex. 4. As is plain from the face of that
document, the closing conditions are drawn directly from the acquisition documents, which
Waymo has. The closing conditions also are comprised largely of events that have nothing to do
with Waymo’s trade secret claims (e.g., preparation of Ottomotto’s tax returns, selection of a
Payment Agent for distribution of Merger Consideration, execution of a Certificate of Merger).
Thus, not only is Waymo’s request for all documents showing how seven pages of closing
conditions were satisfied overbroad for expedited discovery, it seeks irrelevant documents.

Expedited Interrogatories

Interrogatory No. 3 (Identify all devices Levandowski used to access Defendants’ Networks.)

Uber’s response identified the two devices that, to Uber’s knowledge, Mr. Levandowski used to
access Uber’s network. (Waymo Br. Ex. 3.) At the Special Master’s request, Uber is offering a
declaration from its testifying expert on forensic computer analysis regarding his investigation
into what devices Mr. Levandowski used to connect to Uber’s network. As reflected in the

                                                 4
la-1353118
Case 3:17-cv-00939-WHA Document 748-12 Filed 06/27/17 Page 6 of 8
       Case 3:17-cv-00939-WHA Document 748-12 Filed 06/27/17 Page 7 of 8




(Ex. 5 (6/22 Suppl. Resps).) Waymo seeks further details about what compensation was
“promised” to Mr. Levandowski, but Waymo fails to articulate how that is at all relevant given
Uber’s disclosure of the compensation Mr. Levandowski actually received. Waymo’s request for
a further response is unwarranted.

Interrogatory No. 8 (“Describe all consulting work performed by LEVANDOWSKI for UBER
before August 18, 2016, INCLUDING the terms of the consulting and any compensation
arrangements.”)

Uber’s initial response stated that Mr. Levandowski “was not a retained consultant for Uber and
there was no consultant agreement or consultancy compensation arrangement between Mr.
Levandowski and Uber.” (Waymo Br. Ex. 3 at 12-13.) However, it went on to state that
“[b]eginning in late winter or early spring 2016, and continuing until the transaction between
Uber and Ottomotto closed, Mr. Levandowski would from time to time: visit Uber’s facilities in
San Francisco and Pittsburgh; attend Uber meetings related to autonomous vehicles; meet with
various Uber tech leads, engineers, and other employees of Uber’s autonomous vehicle program;
tour Uber’s facilities and labs; and examine Uber’s autonomous vehicle project records.” (Id.)

In an effort to resolve the concern Waymo voiced during the meet-and-confer process that Uber
was misinterpreting the term “consultant” and had provided insufficient information about what
Mr. Levandowski’s role entailed, Uber supplemented its response on June 22, 2017, adding that:
“Mr. Levandowski provided unpaid consulting advice,” and that in that role he “provided
comments and suggestions on how to improve various aspects of Uber’s autonomous vehicle
program, including hardware and software.”3 (Ex. 5 at 5.)

Waymo asks this Court to compel Uber “to disclose the metes and bounds of Mr. Levandowski’s
consulting and any compensation arrangements (whether promised or actualized)” as well as “the
consulting work itself” (Dkt. 682 at 7), but as explained above, Uber has responded to this
Interrogatory in full. Waymo’s assertion that deposition testimony that Mr. Levandowski was
“consulting for the company” is somehow inconsistent with Uber’s initial written response and a
statement made in meet-and-confer correspondence lacks merit, given that the written response
made clear that Mr. Levandowski was not a paid, retained consultant before August 18, but did
perform unpaid activities relating to Uber’s autonomous vehicle program. (Waymo Br. Ex. 3 at
12-13; Ex. 5 (6/22 Suppl Resps).) In any event, the supplemental response clears up any
uncertainty.

Finally, Waymo is not entitled to a further response to this Interrogatory because it already has
obtained deposition testimony on this topic. Waymo asked about Mr. Levandowski’s role at
Uber before August 18, 2016 during the June 16, 2017 deposition of John Bares, who was the
director and founder of Uber’s Advanced Technologies Center during the relevant time, and Mr.
Bares testified that Mr. Levandowski “examined everything we were doing, from sensors to
automotive OEM partners to software design, to mapping, to labeling, everything in the self-
driving effort. Reviewed all of those pieces, gave comments and suggested, suggested change of

3
 During the parties’ meet-and-confer call on June 16, Uber informed Waymo that it could not
provide a supplemental response on June 16, but would try to do so before Waymo filed its
motion.

                                                6
la-1353118
       Case 3:17-cv-00939-WHA Document 748-12 Filed 06/27/17 Page 8 of 8




direction, paths forward, how to improve what we were doing and gain higher speed.” (Ex. 6
(Bares Dep. at 19:10-21).) That testimony is entirely consistent with Uber’s written responses.
Having obtained testimony from Mr. Bares about what Mr. Levandowski did at Uber before the
deal closed, Waymo is not entitled to yet another supplemental response to its interrogatory.
Adobe Sys. v. St. Paul Fire & Marine Ins. Co., No. C 07-00385 JSW(MEJ), 2008 WL 1342877,
at *2 (N.D. Cal. April 9, 2008) (denying motion to compel further responses to interrogatories
where plaintiff had deposed individuals with knowledge about the subject matter); Sloan v.
Oakland Police Dep’t, No. C 00 4117 CW(JCS), 2006 WL 753013, at *5 n.2 (N.D. Cal. Mar. 23,
2006) (explaining that a motion to compel further interrogatory responses “will only be granted
if the additional interrogatory responses sought are not duplicative of information already
obtained, through deposition or otherwise,” and that “[i]n particular, Defendants will need to
address whether the interrogatories relate to questions that were asked, or could have been asked,
at Plaintiff’s deposition”).

Interrogatory No. 20 (Identify all communications between UBER and John Gardner, or any
other attorney acting on behalf of LEVANDOWSKI prior to August 18, 2016.)

Uber’s written response, served on June 9, 2017, provided

               Defendants object to this interrogatory because it implicates
               information protected by the attorney-client privilege, the work-
               product doctrine, and the common-interest and joint-defense
               privileges. In particular, this interrogatory relates in part to the
               issue addressed by the June 5, 2017 order on Waymo’s motion to
               compel, to which Defendants filed an objection on June 8, 2017.
               That order is currently stayed “until further order of the district
               court.” Therefore, communications with Mr. Gardner to which
               that order applies currently remain privileged from disclosure, and
               communications with Mr. Gardner to which that order does not
               apply are also privileged from disclosure. Defendants further
               object that this interrogatory is overbroad in seeking an
               identification of “all” communications with Mr. Gardner, rather
               than limiting it to communications connected to the investigation
               performed by Stroz Friedberg LLC. The interrogatory therefore is
               not “reasonably narrow.” (See Order, ECF No. 426.) Given the
               vast overbreadth of this interrogatory, it is unreasonable to require
               an expedited response.

(Waymo Br. Ex. 16 at 12.) Waymo’s request for a further response lacks merit. Uber is unaware
of any responsive verbal communications with John Gardner that pre-date February 24, 2016.
Uber produced all non-privileged, responsive documents reflecting communications with Mr.
Gardner in response to expedited RFP No. 19. To the extent there are other responsive
documents that are protected by the attorney-client privilege, work product doctrine, and/or
common interest privilege (at least until the Court’s orders on disputed privilege issues become
final), those documents were addressed in response to RFP No. 19. (Ex. 7.) And Waymo cites
no authority to support its request for an order requiring Uber to create a privilege log of verbal
communications with Mr. Gardner. No relief is warranted.

                                                 7
la-1353118
